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1                                 UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3
       JAMES JOVAN HARRIS,                                Case No.: 3:24-cv-00541-MMD-CSD
4
                     Plaintiff,
5                                                                         ORDER
              v.
6                                                                      (ECF No. 1)
       WASHOE COUNTY SHERIFFS OFFICE,
7      et al.,

8                    Defendants.

9            On December 2, 2024, pro se plaintiff James Jovan Harris, an inmate being

10    detained at the Washoe County Detention Center, submitted a complaint under 42 U.S.C.

11    § 1983 and applied to proceed in forma pauperis. (ECF Nos. 1-1, 1). Plaintiff’s application

12    to proceed in forma pauperis is incomplete because Plaintiff’s financial certificate is

13    not complete, and Plaintiff did not include an inmate trust fund account statement

14    for the previous six-month period with the application. The Court will deny Plaintiff’s

15    application without prejudice and give Plaintiff the opportunity to correct these deficiencies

16    by February 4, 2025.

17    I.     DISCUSSION

18           The United States District Court for the District of Nevada must collect filing fees

19    from parties initiating civil actions. 28 U.S.C. § 1914(a). As of December 1, 2023, the fee

20    for filing a civil-rights action is $405, which includes the $350 filing fee and the $55

21    administrative fee. See 28 U.S.C. § 1914(b). “Any person who is unable to prepay the

22    fees in a civil case may apply to the court for leave to proceed in forma pauperis.” Nev.

23    Loc. R. Prac. LSR 1-1. For an inmate to apply for in forma pauperis status, the inmate

24    must submit all three of the following documents to the Court: (1) a completed

25    Application to Proceed in Forma Pauperis for Inmate, which is pages 1–3 of the

26    Court’s approved form, that is properly signed by the inmate twice on page 3; (2) a

27    completed Financial Certificate, which is page 4 of the Court’s approved form, that is

28    properly signed by both the inmate and a prison or jail official; and (3) a copy of the
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1     inmate’s prison or jail trust fund account statement for the previous six-month

2     period. See 28 U.S.C. § 1915(a)(1)–(2); Nev. Loc. R. Prac. LSR 1-2. In forma pauperis

3     status does not relieve an inmate of his or her obligation to pay the filing fee, it just means

4     that the inmate can pay the fee in installments. See 28 U.S.C. § 1915(b).

5            As explained above, Plaintiff’s application to proceed in forma pauperis is

6     incomplete. The Court will therefore deny Plaintiff’s application to proceed in forma

7     pauperis without prejudice and grant Plaintiff an extension of time to either pay the filing

8     fee or file a new fully complete application to proceed in forma pauperis with all three

9     required documents.

10    II.    CONCLUSION

11           It is therefore ordered that the application to proceed in forma pauperis (ECF No. 1)

12    is denied without prejudice.

13           It is further ordered that Plaintiff has until February 4, 2025, to either pay the full

14    $405 filing fee or file a new fully complete application to proceed in forma pauperis with

15    all three required documents: (1) a completed application with the inmate’s two signatures

16    on page 3, (2) a completed financial certificate that is signed both by the inmate and the

17    prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the

18    previous six-month period.

19           Plaintiff is cautioned that this action will be subject to dismissal without prejudice if

20    Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff

21    to refile the case with the Court, under a new case number, when Plaintiff can file a

22    complete application to proceed in forma pauperis or pay the required filing fee.

23           The Clerk of the Court is directed to send Plaintiff James Jovan Harris the

24    approved form application to proceed in forma pauperis for an inmate and instructions for

25    the same and retain the complaint (ECF No. 1-1) but not file it at this time.

26           DATED THIS 9th day of December 2024.

27

28                                                UNITED STATES MAGISTRATE JUDGE

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